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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11                                        Case No.: CV 17-5124-DMG (SKx)
     DRONE USA, INC.,
12                                        ORDER TO DISMISS ACTION AND
                  Plaintiff,
                                          RETAIN JURISDICTION TO
13                                        ENFORCE SETTLEMENT
          v.
                                          AGREEMENT [76]
14
     PAULO FERRO, an individual,
15
                  Defendant.
16
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     PAULO FERRO, an individual,
18
                  Counterclaimant,
19
          v.
20
     DRONE USA, INC., a Delaware
21   corporation, MICHAEL BANNON,
     an individual, and TCA GLOBAL
22   CREDIT MASTER FUND, LP, a
     Cayman Islands Limited Partnership
23
                  Counterdefendants.
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1           The Court having considered the Stipulation re (1) Dismissal of Action and
2     (2) Retention of Court’s Jurisdiction to Enforce Settlement Agreement [Doc. #
3     76], and good cause appearing:
4           IT IS HEREBY ORDERED:
5           1. For a period of 14 months following the entry of this Order, the Court
6              will retain jurisdiction to enforce the terms of the November 27, 2018
7              Settlement Agreement entered into by and between Plaintiff and
8              Counterdefendant Drone USA, Inc. and Counterdefendant Michael
9              Bannon and Defendant and Counterclaimant Paulo Ferro.
10          2. Subject to the Court retaining jurisdiction to enforce the Settlement
11             Agreement pursuant to this Order, the above-captioned action is
12             dismissed with prejudice.
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14    DATED: January 2, 2019                      ______________________________
                                                  DOLLY GEE
15                                                UNITED STATES DISTRICT JUDGE
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